                  Case 1:05-cr-00349-AWI Document 159 Filed 05/02/07 Page 1 of 2


          IAN F. HEUSTON #235233
      1
          Attorney at Law
      2
          Law Offices of
          Thomas J. Richardson & Associates
      3
          2950 Mariposa St. Suite 200
          Fresno, California 93721
      4
          Tel: (559) 264-6481
          Fax: (559) 264-0240
      5
          Attorney for Defendant
      6
          JUAN ROSAS

      7
                            IN THE UNITED STATES DISTRICT COURT
      8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
      9
                                              *******
     10

     11
          UNITED STATES OF AMERICA,                ) Case No: 05-CR-00349 OWW
     12
                                                   )
                       Plaintiff,                  ) STIPULATION AND ORDER TO
     13         vs.                                ) CONTINUE SENTENCING
                                                   )
     14
                                                   ) Date: July 9, 2007
          JUAN ROSAS,                              ) Time: 9:00 A.M.
     15           Defendant.                       ) Judge: Oliver W. Wanger
                                                   )
     16
                                                   )

     17
                The parties hereto, by and through their respective attorneys, stipulate and
     18

     19   agree that the sentencing currently scheduled for April 30, 2007, be continued to

     20   July 9, 2007 at 9:00 AM in the above-entitled court. Time is excluded pursuant to
     21
          the Speedy Trial act as defendant has tendered a guilty plea.
     22
          //
     23

     24   //
     25
          //



                                                    1
PDF created with pdfFactory trial version www.pdffactory.com
                  Case 1:05-cr-00349-AWI Document 159 Filed 05/02/07 Page 2 of 2


          //
      1

      2                                                Respectfully submitted,
      3

      4
          Dated: May 1, 2007                           By /s/Stanley Boone
      5                                                STANLEY BOONE
      6
                                                       Assistant U.S. Attorney

      7

      8
          Dated: May 1, 2007.                          By /s/ Ian F. Heuston
      9                                                IAN HEUSTON
                                                       Attorney for Defendant
     10

     11
          SO ORDERED:
     12

     13
          Dated: 4/27/07                               /s/ Oliver W. Wanger
                                                       __________________________
     14                                                OLIVER W. WANGER
                                                       U.S. DISTRICT COURT JUDGE
     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25




                                                   2
PDF created with pdfFactory trial version www.pdffactory.com
